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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-02563-JLK

ROCKY MOUNTAIN GUN OWNERS, et al.

        Plaintiffs,

v.

JARED S. POLIS, in his official capacity as Governor of the State of Colorado,

        Defendant.

       MOTION TO STAY SUBMISSION OF REPLY BRIEFS ON THE PARTIES’
                   MOTIONS FOR SUMMARY JUDGMENT

        Plaintiffs Rocky Mountain Gun Owners and Alicia Garcia, by and through their respective

undersigned counsel, respectfully move this Court for a stay of parties’ reply briefs on their

respective motions for summary judgment, until such time as the Tenth Circuit has issued its

opinion in Ortega v. Lujan Grisham (No. 24-2121), argued May 13, 2025.

        Plaintiffs have conferred with Defendant in this matter, and Defendant opposes a stay of

the reply briefs.

        In support thereof, Plaintiffs state as follows:

        1.      Both the Plaintiffs and the Defendant filed their Motions for Summary Judgment

on May 8, 2025. (ECF 62 – Motion for Summary Judgment by Plaintiffs; and ECF 63 – Motion

for Summary Judgment by Defendant.)

        2.      On May 13, 2025, the Tenth Circuit Court of Appeals heard arguments in the case

of Ortega et al. v. Grisham et al., No. 1:24-CV-00471-JB-SCY (D.N.M.). Before the Tenth Circuit




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is the Plaintiffs’ motion for a preliminary injunction, which was denied on July 22, 2024, and

which was appealed pursuant to 28 U.S.C. § 1292(a)(1).

       3.       The Ortega case involves a challenge of New Mexico’s 7-day firearms waiting

period, which – other than the length of the waiting period – is similar to the one at issue in the

current case.

       4.       Moreover, the issues presented in the Ortega appeal significantly overlap those

central to the current case, as already addressed in the preliminary injunction hearing, and – most

recently – in the parties’ Motions for Summary Judgment:

       a.       Whether a cooling off waiting period triggers Step 1 of the Bruen inquiry;

       b.       Whether a cooling off waiting period regulating purchasers of firearms is in fact a

                presumptively lawful regulation on commercial sales; and

       c.       Whether, under Step 2 of the Bruen inquiry, there is an appropriate and relevant

                historical analogue to cooling off waiting periods.

       5.       On May 21, 2025, the parties jointly filed a Motion for Extension of Time to file

their Response and Reply briefs. (ECF 64 – Joint MOTION for Extension of Time to File

Response/Reply.)

       6.       This Court subsequently granted the motion (ECF 65) extending the filing date for

the Parties’ Responses to the Motions for Summary Judgment to June 20, 2025, and their Reply

Briefs to July 11, 2025.

       7.       On June 20, 2025, both parties filed their Responses in Opposition to each other’s

Motions for Summary Judgment (ECF 66 – Opposition to Motion for Summary Judgment by

Defendant; and ECF 67 - Opposition to Motion for Summary Judgement by Plaintiffs.)



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       8.      Presently, reply briefs are due on July 11, 2025.

       9.      In preparing Plaintiff’s reply brief, undersigned counsel has determined that the

resolution of the issues fiercely contested by the parties in this case will likely be addressed

partially if not entirely by Ortega.

       10.     On June 30, 2025, undersigned counsel conferred with opposing counsel regarding

filing a joint motion to stay the deadline for reply briefs on summary judgment, pending the release

of the Tenth Circuit’s decision in the Ortega case.

       11.     On July 3, 2025, defense counsel informed the undersigned that the Defendant

opposes staying or further delaying the current case to wait for a decision in the Ortega appeal.

       12.     This Court has broad authority to stay proceedings before it. See Ryan v. Gonzalez,

568 U.S. 57, 73-74 (2013). This authority stems from the Court’s inherent power “to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.” Doe v. Jones, 762 F.3d 1174, 1178 (10th Cir. 2014) (quoting Landis v. N. Am. Co.,

299 U.S. 248, 254 (1936)).

       13.     “[T]he decision to grant a stay . . . is ‘generally left to the sound discretion of district

courts.’” Ryan, 568 U.S. at 74 (quoting Schriro v. Landrigan, 550 U.S. 465, 473 (2007)). In

exercising that discretion, courts consider “the specific circumstances of a case,” Doe, 762 F.3d at

1178 (quoting Landis, 299 U.S. at 254), including judicial economy and any competing interests

of the parties, Capitol Specialty Ins. Corp. v. Sw. Clubs, Inc., Civ. No. 12-01299, 2015 WL

11117308, at *3 (D.N.M. Mar. 31, 2015).




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         14.   The granting of a stay in the current case is warranted in the interest of judicial

economy. The Tenth Circuit’s forthcoming decision in Ortega will likely significantly affect the

analysis of the issues and inform the overall proceedings in this Court.1

         15.   Filing reply briefs on July 11, without the benefit of the decision in Ortega, is a

waste of party resources. When the decision in Ortega is issued, this Court will likely request

supplemental briefing on its import anyway, at that point.

         16.   Without the benefit of Ortega, the parties’ arguments in their replies are likely to

be redundant of their previous arguments.

         17.   Filing reply briefs on July 11 is also a waste of judicial resources. Without a stay

of the reply briefs, this Court will likely be put in the unenviable position of one of two outcomes,

upon the completion of summary judgment briefing: (a) beginning to draft an opinion on the

parties’ summary judgment motion that is pre-empted by a Tenth Circuit decision before this

Court’s opinion is finished and entered in this case; (b) finishing and entering an opinion granting

summary judgment in favor of one party, with the other party then contending on appeal that the

decision in Ortega radically alters the underlying framework that should have applied before this

Court.

         18.   Defendant is not prejudiced by the entry of a stay of the reply briefs. Indeed,

Defendant obtains the benefit of the indefinite existence and enforcement of the Waiting Period

Law. In normal circumstances, it would be Plaintiffs that object to a stay, when their rights are




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 Indeed, the district court in Ortega has stayed its own proceedings as it anticipates the Tenth
Circuit’s imminent ruling on the appeal of the denial of the preliminary injunction motion.


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denied—the only difference here being that Plaintiffs now understand that Ortega will shed a great

deal of light, one way or another, on its claim for relief here.

       19.     For reasons of judicial and party economy, this Court should stay the filing of reply

briefs pending the release of the decision in Ortega.

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court stay

the parties’ reply brief pending the Tenth Circuit’s resolution of the appeal in Ortega v. Lujan

Grisham (No. 24-2121).

       Respectfully submitted this 7th day of July, 2025.

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